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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,           )
         Plaintiff,                 )
                                    )
v.                                  ) Case No. 1:17-cr-00224-AT-CMS
                                    )
ALLEN J. PENDERGRASS,               )
          Defendant.                )
____________________________________)

DEFENDANT’S OBJECTIONS TO REPORT AND RECOMMENDATION
                       (DOC. 47)

      Mr. Pendergrass now files these objections to the report and recommendation

issued on February 22, 2018 (doc. 47). In support whereof, he shows the following:

      Prior defense counsel filed a short motion to suppress and a supplement to

that motion arguing that the search warrant at issue (doc. 44-1) lacked probable

cause. Docs. 26, 40. This motion was denied. Docs. 47. Defense counsel failed

to file objections to the report and recommendation and it was adopted by the

district court. Doc. 52. This Court has permitted present counsel leave to file

objections to the report and recommendation.

      Those objections follow.
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I.    MR.   PENDERGRASS    OBJECTS   TO  THIS COURT’S
      DETERMINATION THAT THE WARRANT AT ISSUE MADE A
      SUFFICIENT SHOWING OF PROBABLE CAUSE.

      The magistrate court held that that the Affidavit made a sufficient showing

that there is a fair probability that evidence of the crimes of theft by taking and

forgery would be recovered in the business location. Doc. 47 at 6. Mr. Pendergrass

objects to this ruling and asserts that the warrant is faulty because it fails to allege a

nexus between the place to be searched and the crime alleged and because the

evidence relied upon was stale.

      A.     The warrant application failed to allege a nexus between the place to
             be searched and the crime alleged.

      In determining whether probable cause exists to support a search warrant, a

magistrate must make “a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit before him . . . there is a fair probability that

contraband or evidence or a crime will be found in a particular place.” Illinois v.

Gates, 462 U.S. 213, 238 (1983) (emphasis added). “There must be a substantial

basis to conclude that the instrumentalities of the crime will be discovered on the

searched premises.” United States v. Lockett, 674 F.2d 843, 846 (11th Cir. 1982)

(emphasis added). “[An] affidavit should establish a connection between the

defendant and the residence to be searched and a link between the residence and

any criminal activity.” United States v. Martin, 297 F.3d 1308, 1314 (11th Cir.

2002).
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      As outlined in the magistrate court’s report and recommendation, APD

Officer Ricks provided a sworn affidavit in support of the September 19, 2013

warrant. (Doc. 44-1.) In the affidavit, he details an investigation in to fraudulently-

obtained checks that were mailed to a P.O. Box in Fayetteville, Georgia in June of

2013. The checks were issued to a company called Asset Financial Recovery, Inc.

In the affidavit, the officer, with very little information to back up his claims,

requests a warrant to search a physical address in Atlanta, that he believes is tied to

a company called Asset Financial Recovery, LLC. He does not attempt to tie the

P.O. box (the only location actually tied to a crime) to the physical address to be

searched and he does not attempt to show that the P.O. box is owned, operated, or

controlled by Allen Pendergrass or anyone associated with the physical address to

be searched. Instead, Officer Ricks makes a giant leap from the fraudulent checks

sent to the P.O. box and the physical address to be searched. It appears that Officer

Ricks called Wells Fargo and obtained information in violation of the Right to

Financial Privacy Act (without a warrant) and traced the checks, but the officer does

not even provide sufficient information to show how he connected the checks to the

physical address to be searched. Any argument that seeing Mr. Pendergrass’ car

parked outside the address to be searched on one occasion constitutes a sufficient

nexus should be rejected.




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      Here, the officers used boilerplate language to justify a search of 4854 Old

National Hwy. They did so without making any factual connection between the

entity seeking checks from the City of Atlanta – Asset Financial Recovery, Inc.

and the business located at the stated address – Asset Financial Recovery, LLC.

Further, the checks at issue were mailed to a completely different address than the

one searched. As noted in the affidavit, the checks were mailed to Post office box

# 1809 in Fayetteville, Georgia 30214. Probable cause to search requires some

nexus between the premises and the alleged crime. See United States v. Jenkins, 901

F.2d 1075, 1080–81 (11th Cir.1990). None was provided. For this reason, the

evidence seized pursuant to this warrant should be suppressed. See United States

v. Green, 634 F.2d 222, 226 (11th Cir. Unit B 1981) (finding no probable cause to

search based on an agent's general assumption that evidence of a crime committed

in California was likely to be found in the defendant's home in Florida).

      B.     The evidence outlined in the affidavit was stale.

      “[I]t remains a fundamental principal of search and seizure law that

information furnished in an application for a search warrant must be timely, and

that probable cause must be found to exist at the time the warrant issues.” United

States v. Barscaro, 742 F.2d 1335, 1345 (11th Cir. 1984) (emphasis added). The

information in the affidavit must be fresh. Martin, 297 F.3d at 1314. “[T]o satisfy

the probable cause standard, the government must reveal facts that make it likely


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that the items being sought are in the place when the warrant issues.” United States

v. Harris, 20 F.3d 445, 450 (11th Cir. 1994) (emphasis added).                Whether

information is stale is determined “on the peculiar facts of each case.” United States

v. Bervaldi, 226 F.3d 1256, 1264 (11th Cir. 2000). The test for determining whether

a warrant relies upon information too stale to support the issuance of the warrant

includes “the maturity of the information, nature of the suspected crime (discrete

crimes or ongoing conspiracy), habits of the accused, character of the items sought,

and nature and function of the premises to be searched.” Harris, 20 F.3d at 450. In

the end, a “warrant application based upon stale information fails to create probable

cause.” Id.

      The evidence relied upon in the September 13, 2013 warrant application was

from May and June of 2013 – and it was tied to a different location than the one

ultimately searched. There has been no showing that evidence of any crimes would

likely be present at an entirely different location several months later. This is

particularly true since the allegations were of a person receiving mail at a p.o. box

and there was no allegation regarding criminal activity at another location (i.e., there

is no claim of observing Mr. Pendergrass involved in criminal activity at another

office location only to find out that he had changed office locations to the site of the

search warrant). Every allegation made was from activity that occurred several

months prior at a different location. For that reason, suppression is required. See


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United States v. Bervaldi, 226 F.3d 1256, 1264 (11th Cir. 2000) (The affidavit must

establish that probable cause exists at the time the warrant was issued).

II.    THE LEON GOOD FAITH EXCEPTION1 SHOULD NOT SAVE THE
       WARRANT IN THIS CASE.

       Mr. Pendergrass also objects to the finding by the magistrate court that the

good faith exception to the warrant requirement should save the faulty warrant here.

See doc. 47 at 7-8.

       Under United States v. Leon, 468 U.S. 897, 923 (1984), however, the “good

faith” exception to the rule requiring the suppression of evidence for violations of

the Fourth Amendment keeps evidence from being suppressed only when law

enforcement officers obtain evidence through objective good faith reliance on a

facially valid warrant that is later found to lack probable cause. See United States

v. Gonzalez, 969 F.2d 999, 1004 n.4 (11th Cir. 1992).           However, “in some

circumstances the officer will have no reasonable grounds for believing that the

warrant was properly issued.” Leon, 468 U.S. at 922-923. Leon’s good faith

exception does not apply to the following situations: (1) where the magistrate in


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       It should be noted that there is no good faith exception in Georgia state
       courts. See Abercrombie v. State, 343 Ga. App. 774 (2017). As this Court
       knows, Mr. Pendergrass has filed a motion to dismiss based upon pre-
       indictment delay (doc. 90), which is based in part on the decision to prosecute
       Mr. Pendergrass in federal court rather than in State court. It appears the
       government would like to benefit from the legal distinction in how the
       different sovereigns apply (or do not apply) a good faith exception to search
       warrants.
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issuing a warrant was misled by information in an affidavit that the affiant knew

was false or would have known was false except for his reckless disregard of the

truth; (2) where the issuing magistrate wholly abandoned his judicial role; (3) where

the affidavit supporting the warrant is so lacking in indicia of probable cause as to

render official belief in its existence entirely unreasonable; and (4) where,

depending upon the circumstances of the particular case, a warrant is so facially

deficient that the executing officers cannot reasonably presume it to be valid. United

States v. Robinson, 336 F.3d 1293, 1296 (11th Cir. 2003).

      Here, the magistrate wholly abandoned his judicial role by issuing a search

warrant for a physical address in Atlanta, when the only allegation of criminal

activity was tied a P.O. Box in Fayetteville. For this reason, the evidence seized

from 4854 Old National Hwy should be suppressed.

      For all of these reasons, Mr. Pendergrass objects to the report and

recommendation issued by the magistrate court and asks this Court to grant his

motion to suppress.

      Respectfully submitted this 31st day of October 2019.

                                        Respectfully submitted,
                                        s/Saraliene S. Durrett
                                        SARALIENE S. DURRETT
                                        GA Bar No. 837897
                                        Attorney for Allen Pendergrass




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                         CERTIFICATE OF SERVICE

      THIS IS TO CERTIFY that I have this day served upon all counsel of record a

true and correct copy of the foregoing objections by electronic filing through the

Court’s CM/ECF system.

      This 31st day of October 2019.
                                       Respectfully submitted,
                                       s/Saraliene S. Durrett
                                       SARALIENE S. DURRETT
                                       GA Bar No. 837897
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